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                                                     April 5, 2021

BY ECF

Honorable Alison J. Nathan
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:       City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
                 Case No. 15 Civ. 5345 (AJN) (KHP)

Dear Judge Nathan:

       We represent the City of Almaty, Kazakhstan and BTA Bank (the “Kazakh Entities”).
Pursuant to the Court’s Order dated March 29, 2021 resolving various motions to seal (ECF No.
1422), we attach to this letter the following Exhibits to the Declaration of Matthew L. Schwartz in
Opposition to Defendant Triadou SPV S.A.’s Motion for Summary Judgment (ECF No. 1356):

                Exhibit 176 with the redactions proposed by Frank Monstrey in his motion to seal
                 (see ECF No. 1367-3);

                Exhibit 191 with the redactions proposed by Frank Monstrey in his motion to seal
                 (see ECF No. 1367-4); and

                Exhibit 306 with only Gennady Petelin’s passport number and Ilyas Khrapunov’s
                 address redacted.



                                                     Respectfully,

                                                     /s/ Craig Wenner
                                                     Craig Wenner
